      Case 3:11-cr-00345-DRD         Document 915       Filed 03/21/13    Page 1 of 9



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,
                                                           CRIMINAL NO. 11-345 (DRD)
               v.

 JONATHAN HERNANDEZ-GUZMAN [9],

 Defendant.

                        REPORT AND RECOMMENDATION

       Defendant Jonathan Hernández-Guzmán [9] was charged in Counts One through

Six of the Indictment and he agreed to plead guilty to Count One of the Indictment. Count

One charges that, beginning on a date unknown, but not later than in or about 2008, and

continuing up to and until the return of the instant Indictment, in the Municipality of Ceiba,

in the District of Puerto Rico, elsewhere, and within the jurisdiction of this Court, the

defendant herein, did knowingly and intentionally, combine, conspire, and agree with each

other and with diverse other persons known and unknown to the Grand Jury, to commit

an offense against the United States, that is, to possess with intent to distribute one (1)

kilogram or more of a mixture or substance containing a detectable amount of heroin, a

Schedule I, Narcotic Drug Controlled Substance; two hundred and eighty (280) grams or

more of a mixture or substance containing a detectable amount of cocaine base (“crack”),

a Schedule II Narcotic Drug Controlled Substance; five (5) kilograms or more of a mixture

or substance containing a detectable amount of cocaine, a Schedule II Narcotic Drug

Controlled Substance; a measurable amount of a mixture or substance containing a

detectable amount of marijuana, a Schedule I Controlled Substance; a mixture or substance

containing a detectable amount of Oxycodone (commonly known as Percocet), a Schedule

II Controlled Substance; and a mixture or substance containing a detectable amount of
        Case 3:11-cr-00345-DRD                   Document 915             Filed 03/21/13           Page 2 of 9



United States of America v. Jonathan Hernández-Guzmán [9]
Criminal No. 11-345 (DRD)
Report and Recommendation
Page 2

Alprazolam (commonly known as Xanax), a Schedule IV Controlled Substance, all within

one thousand (1,000) feet of the real property comprising a housing facility owned by a

public housing authority, that is, the Jardines de Ceiba Public Housing Project and other

areas within the Municipality of Ceiba, Puerto Rico. All in violation of Title 21, United

States Code, Section 846, 841(a)(1) and 860.

         On March 20, 2013, defendant appeared before this Magistrate Judge, since the

Rule11 hearing was referred by the Court. Defendant was provided with a Waiver of Right

to Trial by Jury, which he signed and agreed upon voluntarily after examination in open

court, under oath.

         Defendant indicated and confirmed his intention to plead guilty to Count One of the

Indictment, upon being advised of his right to have said proceedings before a district judge

of this court.1 Upon verifying through defendant’s statement his age, education and any

relevant aspect as to the use of medication, drugs, alcohol or substance dependency, and

psychological or psychiatric condition, to ascertain his capacity and ability to understand,

answer and comprehend the interactive colloquy with this Magistrate Judge, a

determination was made as to defendant’s competency and ability to understand the

proceedings.

         Having further advised defendant of the charges contained in above-stated Count

One, he was examined and verified as being correct that: he had consulted with his counsel,

Rafael Castro-Lang, prior to the hearing for change of plea, that he was satisfied with the

services provided by his legal representative and had time to discuss with him all aspects


         1
           The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading Guilty
(Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
        Case 3:11-cr-00345-DRD               Document 915   Filed 03/21/13   Page 3 of 9



United States of America v. Jonathan Hernández-Guzmán [9]
Criminal No. 11-345 (DRD)
Report and Recommendation
Page 3

of the case, insofar, among other things, regarding the change of plea, the consent to

proceed before a United States Magistrate Judge, the content of the Indictment and the

charges therein, his constitutional rights and the consequences of the waiver of same.

        Defendant was specifically apprised by this Magistrate Judge that, upon withdrawing

his initial plea of not guilty and now entering a plea of guilty to the charge specified, he was

waiving his right to a public, speedy, and a trial by jury constituted by twelve jurors who

have to unanimously agree to a verdict. he was also waiving his right to be presumed

innocent and for the government to meet the obligation of establishing his guilt beyond a

reasonable doubt. Furthermore, he was waiving his right during said trial to confront the

witnesses who were to testify against him and be able to cross-examine them, through

counsel at said trial, as well as present evidence on his behalf. he was also waiving the right

to compel the attendance of witnesses and that subpoenas be issued to have them appear

in court to testify. Defendant was specifically apprised of his right to take the stand and

testify, if he so decided, or not to testify, and no inference or decision as to his guilt could

be made from the fact if he decides not to testify. Defendant was also explained his right

not to incriminate herself; that upon such a waiver of all above-discussed rights a judgment

of guilty and his sentence were to be based on his plea of guilty, and he would be sentenced

by the judge after considering the information contained in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive

acknowledgment of each and every waiver and, with the assistance of his counsel, Attorney

Castro-Lang, indicated he freely and voluntarily waived those rights and understood the
        Case 3:11-cr-00345-DRD               Document 915   Filed 03/21/13   Page 4 of 9



United States of America v. Jonathan Hernández-Guzmán [9]
Criminal No. 11-345 (DRD)
Report and Recommendation
Page 4

consequences. During all this colloquy, defendant was made aware that he could freely

request from this Magistrate Judge any additional clarification, repetition, or ask questions

and that he may consult with his attorney at any given time as to any issue.

        Defendant expressed his understanding of the penalties prescribed by statute for the

offenses as to which he was pleading guilty. The penalty for the offense charged in Count

One of the Indictment is a term of imprisonment of not less than ten (10) years or up to life

and a fine not to exceed Twenty Million dollars ($20,000,000.00), and a term of supervised

release of at least ten (10) years, all pursuant to Title 21, United States Code, § 841(b)(1)(A)

and 860.

        Based on the stipulated and agreed amount of narcotics possessed by the defendant,

that is, at least 2 kilograms but less than 3.5 kilograms of cocaine, the penalty for the

offense shall be, a term of imprisonment of not less than five (5) years and not more than

eighty (80) years, a fine not to exceed $10,000,000.00, and a term of supervised release of

at least eight (8) years, all pursuant to Title 21, United States Code, Section 841(b)(1)(B)

and 860.

        At the time of sentencing the defendant will pay a special assessment of one hundred

dollars ($100.00) per count, as required by Title 18, United States Code, Section 3013(a).

        Having ascertained directly from defendant that he had not been induced in any way

to plead guilty, that no one had forced him in any way to plead guilty, nor that he had been

offered any reward or any other thing of value to get him to plead guilty, the document
        Case 3:11-cr-00345-DRD                Document 915            Filed 03/21/13         Page 5 of 9



United States of America v. Jonathan Hernández-Guzmán [9]
Criminal No. 11-345 (DRD)
Report and Recommendation
Page 5

entitled “Plea Agreement (Pursuant to Rule 11(c)(1)(A) & (B) FRCP)” (“the Agreement”)

and the “Plea Agreement Supplement”2 were shown to defendant, verifying his signature

and initials on each and every page.

         Pursuant to said Agreement, and insofar as Count One, as to which defendant

already was aware of the maximum possible penalties, defendant was apprised that it was

up to the sole discretion of the sentencing court what the sentence to be imposed on him

will be. Defendant was specifically informed that if the sentencing court were to impose a

sentence which turned out to be higher or more severe than the one he might be expecting,

for said reason alone, defendant would have no grounds for the court to allow him to

withdraw his plea of guilty.

         The above-captioned parties’ estimate and agreement that appears on pages four and

five, paragraph seven of the Agreement, regarding the possible applicable advisory

Sentencing Guidelines, were further elaborated and explained. Regarding Count One of the

Indictment, pursuant to USSG §2D1.1(c)(6), at least 2 kilograms but less than 3.5 kilograms

of cocaine, the Base Offense Level is of Twenty-eight (28). Pursuant to U.S.S.G. §

2D1.2(a)(1), an increase of two (2) levels is agreed for protected location. Pursuant to

U.S.S.G. § 2D1.1(b), an increase of two (2) levels is agreed for forseeability of firearms.

Pursuant to U.S.S.G. § 3E1.1(b), a decrease of three (3) levels is agreed for acceptance of




        2
          Defendant acknowledged discussing the “Plea Agreement Supplement” with his counsel and stated he understood
the terms and consequences of the same. Defense counsel recognized he explained to defendant the content of the “Plea
Agreement Supplement” and explained to defendant its consequences.
        Case 3:11-cr-00345-DRD               Document 915   Filed 03/21/13   Page 6 of 9



United States of America v. Jonathan Hernández-Guzmán [9]
Criminal No. 11-345 (DRD)
Report and Recommendation
Page 6

responsibility. Therefore, the Total Offense Level is of Twenty-nine (29), yielding an

imprisonment range of eighty-seven (87) to one hundred and eight (108) months if the

Criminal History Category is I; ninety-seven (97) to one hundred and twenty-one (121)

months if the Criminal History Category is II; one hundred and eight (108) to one hundred

and thirty-five (135) months if the Criminal History Category is III; one hundred and

twenty-one (121) to one hundred and fifty-one (151) months if the Criminal History

Category is IV; one hundred and forty (140) to one hundred and seventy-five (175) months

if the Criminal History Category is V; and one hundred and fifty-one (151) to one hundred

and eighty-eight (188) months if the Criminal History Category is VI.

        Upon analysis of the defendant’s criminal history, the parties believe (but do not

stipulate) that he is a CHC III. Therefore, the parties agree to recommend to the Court that

the defendant be sentenced to serve a term of imprisonment of one hundred and eight (108)

months irrespective of his Criminal History Category. In addition, the defendant may

request that the sentence to be imposed in the instant case be concurrent with the sentence

that he is serving in State Court and the United States will not oppose to the request.

        The parties understand that the Court is not bound by the recommendation and that

the Court, after consideration of the factors contemplated within the U.S.S.G. and Title 18,

United States Code, Section 3553 et seq., may sentence the defendant to any amount of time

up to and including the statutory maximum for the offense to which he plead, and that such

a sentence will not invalidate this agreement.

        The United States and the defendant agree that no further adjustments or departures

to the defendant’s base offense level shall be sought by the parties. Any request by the
        Case 3:11-cr-00345-DRD               Document 915   Filed 03/21/13   Page 7 of 9



United States of America v. Jonathan Hernández-Guzmán [9]
Criminal No. 11-345 (DRD)
Report and Recommendation
Page 7

defendant for a sentence below the agreed upon calculation or for an adjustment or

departure shall constitute a material breach of this plea agreement.

        The parties do not stipulate any assessment as to the defendant’s Criminal History

Category.

        At sentencing, the United States agrees to recommend a dismissal of the remaining

counts against the defendant.

        As part of the written Agreement, the government, the defendant, and his counsel

also agreed they are aware that the Sentencing Guidelines are no longer mandatory and are

thus considered advisory.

        The government presented to this Magistrate Judge and to defendant, assisted by

his counsel, a summary of the basis in fact for the offenses charged and the evidence the

government had available to establish, in the event defendant had elected to go to trial, the

commission of the offense, beyond a reasonable doubt.                 Counsel and defendant

acknowledged the evidence of the government was fully disclosed to them and previously

discussed between the two. Defendant was able to understand this explanation and agreed

with the government’s submission.

        Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

        Having once more ascertained that defendant has indicated not being induced to

plead guilty, and was entering such a plea because in fact he is guilty, without any promises

or predictions being made as to the sentence to be imposed by the court, defendant was
        Case 3:11-cr-00345-DRD               Document 915   Filed 03/21/13   Page 8 of 9



United States of America v. Jonathan Hernández-Guzmán [9]
Criminal No. 11-345 (DRD)
Report and Recommendation
Page 8

informed that parole has been abolished under the advisory Sentencing Reform Act and

that any sentence of imprisonment would be served, without his being released on parole.

Defendant was additionally informed that prior to sentence, the sentencing judge will have

a pre-sentence report and that it would be made available to her, to his counsel and to the

government, so that they be allowed to correct or object to any information contained in

said report which was not accurate.

        Defendant was informed that he can appeal his conviction if he believes that his

guilty plea was somehow unlawful or involuntary or if there is some other fundamental

defect in the proceedings which was not waived by his guilty plea. Defendant was also

informed that he has a statutory right to appeal his sentence under certain circumstances

particularly if the sentence is contrary to law. Any notice of appeal must be filed within

fourteen (14) days of judgment being entered in the case. Defendant was also apprised the

right to appeal is subject to certain limitations allowed by law because his Plea Agreement

contains a waiver of appeal in paragraph nine (9) which was read to defendant in open

court. Defendant recognized having knowledge of the waiver of appeal, discussing the same

with his counsel and understanding its consequences. Defense counsel acknowledged

discussing the waiver of appeal and its consequences with his client.

        Defendant waived the reading of the Indictment in open court because he is aware

of its content. Defendant was shown a written document entitled “Statement of Facts”,

which had been signed by defendant and his counsel and is attached to the Agreement,

wherein the signature of counsel for the government also appears. Defendant was provided

an opportunity to see and examine same, indicating he availed himself of the opportunity
        Case 3:11-cr-00345-DRD               Document 915   Filed 03/21/13   Page 9 of 9



United States of America v. Jonathan Hernández-Guzmán [9]
Criminal No. 11-345 (DRD)
Report and Recommendation
Page 9


to further discuss same with his attorney and then he positively stated that what was

contained in Count One was what he had done and to which he was pleading guilty during

these proceedings. Thereafter, defendant expressed in no uncertain terms that he agreed

with the government’s evidence as to his participation in the offense. Thereupon, defendant

indicated he was pleading guilty to Count One of the Indictment in Criminal No. 11-345

(DRD).

        This Magistrate Judge after having explained to the defendant his rights,

ascertaining that he was acting freely and voluntarily to the waiver of such rights and in his

decision of pleading guilty, with full knowledge of the consequences thereof, and there

being a basis in fact for such a plea, is recommending that a plea of guilty be entered as to

Count One of the Indictment in Criminal No. 11-345 (DRD).

        IT IS SO RECOMMENDED.

        The sentencing hearing is set for July 26, 2013 at 9:30 a.m., before Honorable Daniel

R. Domínguez, District Judge.

        San Juan, Puerto Rico, this 20th day of March of 2013.

                                                    s/ CAMILLE L. VELEZ-RIVE
                                                    CAMILLE L. VELEZ-RIVE
                                                    UNITED STATES MAGISTRATE JUDGE
